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                                   5                                    UNITED STATES DISTRICT COURT
                                   6                                 NORTHERN DISTRICT OF CALIFORNIA
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                                       NICOLAS C. HEIDORN,                               Case No.: 13-CV-0229 YGR
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                                                    Plaintiff,                           ORDER VACATING HEARING
                                  11
                                              vs.
Northern District of California




                                  12
 United States District Court




                                       BDD MARKETING & MANAGEMENT
                                  13   COMPANY, LLC,
                                  14                Defendant.
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                                              The Court has reviewed the papers relevant to the Motion for De Novo Determination of
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                                       Dispositive Matter Referred to Magistrate Judge of pro se Plaintiff Nicolas C. Heidorn, a licensed
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                                       California attorney with less than four years of experience. Plaintiff has submitted a Request for
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                                       Oral Argument (Dkt. No. 40), pursuant to Section 2(d) of this Court’s Standing Order in Civil
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                                       Cases. That Section provides that the Court will entertain requests for oral argument when the
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                                       argument will be conducted mostly or wholly by an attorney with less than four years of
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                                       experience, “on the principle that young lawyers need more opportunities for appearances than they
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                                       typically receive.”
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                                              Plaintiff’s request for oral argument is DENIED. Plaintiff happens to be an attorney, but he
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                                       comes before this Court as a party. Section 2(d) is therefore inapplicable to him. The aim of the
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                                       Court’s Standing Order is to encourage senior attorneys to allow their junior colleagues a chance at
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                                       argument. As a pro se party, Plaintiff’s request does not effectuate the provision’s goal.
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                                           Case 4:13-cv-00229-YGR Document 41 Filed 09/19/13 Page 2 of 2




                                   1          Independent of Plaintiff’s request, the Court has determined that the motion is appropriate
                                   2   for decision without oral argument, as permitted by Civil Local Rule 7-1(b) and Federal Rule of
                                   3   Civil Procedure 78. See also Lake at Las Vegas Investors Group, Inc. v. Pacific Malibu Dev.
                                   4   Corp., 933 F.2d 724, 729 (9th Cir. 1991). Accordingly, the hearing set for October 15, 2013 is
                                   5   VACATED. The Court will issue a written decision on the papers.
                                   6          IT IS SO ORDERED.
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                                   8   Date: September 19, 2013                             _______________________________________
                                                                                                     YVONNE GONZALEZ ROGERS
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                                                                                                UNITED STATES DISTRICT COURT JUDGE
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Northern District of California
 United States District Court




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